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                  EXHIBIT 1
              Case: 1:21-cv-00366 Document #: 87-1 Filed: 05/26/23 Page 2 of 3 PageID #:1113


Morrell, Benjamin S.

From:                                      Megan O'Malley <momalley@ompc-law.com>
Sent:                                      Thursday, May 25, 2023 11:03 AM
To:                                        Fisher, Ian H.
Cc:                                        Morrell, Benjamin S.; Alex Raynor
Subject:                                   Re: Lynch v. CCC



Gentlemen:

You have refused every reasonable request to provide your portion of the motion in a timely fashion. I am
going to have to file a Plaintiff's motion only. I have given you plenty of time to get me your portion and I will
not have time to go back and forth any further. If I don't receive your portion by 1 p.m. today, we will proceed
with filing a Plaintiff's motion only. Also, even if I receive your portion by 1 p.m., as I have other commitments
this afternoon, I will not be able to go back and forth and wait for you to review any adjustments we may
make. Accordingly, we will insert your portion, make our adjustments, and file the motion without further
exchanges between us. As we will obviously not make any changes to your portion, your signature will only
affirm your agreement with your portion and so this is how we must proceed in order to get this motion filed
today and presented to the Court in a timely fashion.

Megan O'Malley
O'Malley & Madden, P.C.
542 S. Dearborn St., Ste. 660
Chicago, Illinois 60605
phone: 312.697.1382
facsimile: 312.697.1384

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312-697-1382.



From: Megan O'Malley <momalley@ompc-law.com>
Sent: Wednesday, May 24, 2023 7:59 PM
To: Fisher, Ian H. <IFisher@taftlaw.com>
Cc: Morrell, Benjamin S. <BMorrell@taftlaw.com>; Alex Raynor <alex.raynor@ompc-law.com>
Subject: Re: Lynch v. CCC

I am free between 10:30 am and 12 pm.

Can I please also have your portion to the motion? Thanks.

Get Outlook for iOS

From: Fisher, Ian H. <IFisher@taftlaw.com>
Sent: Wednesday, May 24, 2023 6:45:05 PM
To: Megan O'Malley <momalley@ompc-law.com>
                                                                            1
           Case: 1:21-cv-00366 Document #: 87-1 Filed: 05/26/23 Page 3 of 3 PageID #:1114
Cc: Morrell, Benjamin S. <BMorrell@taftlaw.com>; Alex Raynor <alex.raynor@ompc-law.com>
Subject: Lynch v. CCC

Megan,
Are you available tomorrow for a brief telephone discussion concerning settlement? We are relatively flexible if you
wish to propose a couple of times.
Best,
Ian


              Ian H. Fisher
              Partner
              IFisher@taftlaw.com
              Dir: 312.836.4043
              Tel: 312.527.4000 | Fax: 312.668.8905
              111 E. Wacker Drive, Suite 2600
              Chicago, Illinois 60601-4208


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